    Case 1:23-cv-00615-GBW                          Document 11           Filed 06/20/23           Page 1 of 1 PageID #: 163


AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 1:23-CV-00615-UNA

                                                       PROOF OF SERVICE
                       (This section should not be filed with the couH unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, ifany)       HATZEL & BUEHLER, INC.
was received by me on (date)                      06/07/2023

           □ I personally served the summons on the individual at (place)
                                                                                  on (date)                            ; or

           □ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           S7 I served the summons on (name of individual)            Robin Hutt-Banks                                          , who is
           designated by law to accept service of process on behalf of (name of organization) Corporation Trust Company
         Agent for HATZEL & BUEHLER, INC.                                         on (date)          06/07/2023        ; or

          □ I returned the summons unexecuted because                                                                                ;or

           □ Other (specify):




          My fees are S                            for travel and $                   for services, for a total of $          0.00


          I declare under penalty of peijury that this information is true.



Date:          06/07/2023
                                                                                              Server’s signature


                                                                                            Adam Golden
                                                                                          Printed name and title
                                                                                      DM Professional Services
                                                                                      501 Silverside Rd, Ste 72
                                                                                        Wilmington DE 19809
                                                                                              Server's address


Additional information regarding attempted service, etc:
 served at 1209 Orange St, Wilmington DE 19801 @ 12:39pm
